    Case 3:23-cr-00598-RK Document 18 Filed 06/12/23 Page 1 of 8 PageID: 46



                                                   U.S. Department of Justice
                                                   United States Attorney
                                                   District of New Jersey


                                                   970 Broad street, Suite 700
Assktant unJted States Attorney                    Newark, New Jersey 07102




                                                  June 12, 2023

The Honorable Michael A. Hammer
United States Magistrate Judge
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

                          Re:     United States v. John Doe,
                                  Case No. 23-10194

Dear Judge Hammer:

       The defendant in the above-captioned criminal case (hereinafter referred
to by the fictitious name, "John Doe") has cooperated with the United States
and may enter a guilty plea in the near future. Please accept this letter brief in
lieu of a more formal brief in support of the Government's motion seeking to
have the Court: (1) seal the ECF docket entry with respect to the fact that the
defendant has been charged in this case, (2) refer to the defendant as John Doe
on ECF; and (3) file this document under seal. For the reasons set forth below,
the Government respectfully submits that the Court should grant the motion.

                                         BACKGROUND
       Since at least 2020, law enforcement has been investigating gang-related
activity, includin firearms trafficking, narcotics trafficking and gang-related
violence, in                       and elsewhere. In the course of this
investigation, law enforcement identified John Doe as a member and associate
of gangs operating in and around-. On                           , John Doe was
arrested for
Case 3:23-cr-00598-RK Document 18 Filed 06/12/23 Page 2 of 8 PageID: 47
   Case 3:23-cr-00598-RK Document 18 Filed 06/12/23 Page 3 of 8 PageID: 48



situations, such as the instant matter, may present facts that support
anonymizing and sealing portions of the docket.

        Before a District Court may close the proceedings, or in this case seal the
docket and refer to the defendant as John Doe, it must provide adequate notice
to the public and an opportunity to be heard. United States v. Criden, 675 F.2d
550, 554 (3d Cir. 1982). See also United States v. Antar, 38 F.3d 1348 (3d Cir.
1994) (finding that court sealed transcripts of jury voir dire prematurely
because it did not provide advance notice, conduct a hearing, and make factual
findings on the record); United States v. Raffoul, 826 F.2d 218 (3d Cir. 1987)
(extending Criden requirements to closure motions made concerning criminal
trials).

       Although the Government is not seeking closure in this matter, Courts
have applied similar arguments when sealing a docket entry and/or referring to
a defendant as John Doe. Therefore, after giving the public ample time to
respond, the District Court also must explain, on the record, its reasons “for
rejecting alternatives to closure.” United States v. Criden, 675 F.2d 550, 561
(3d Cir. 1982). See also United States v. Doe, 63 F.3d 121 (2nd Cir. 1995)
(finding the courts must conduct a four-step process in deciding motion for
closure: (1) make specific findings concerning whether there is a substantial
probability of prejudice to a compelling interest; (2) consider alternatives to
closure; (3) if alternatives are lacking, address whether the prejudice overrides
the First Amendment right of the public and press regarding access; and (4) to
the extent closure is warranted, issue a narrowly tailored order); United States
v. Alcantara, 396 F.3d 189, 191-92 (2d Cir. 2005) (recognizing that closed plea
proceeding would be permissible if trial court followed proper notice
requirements and made specific findings supporting closure on the record, but
remanding plea proceedings to trial court after finding that trial court’s sua
sponte decision to close plea proceedings and hold them in robing room did not
provide adequate notice to public and required specific findings to substantiate
necessity of closure).

      Here, law enforcement does not currently have any reason to believe that
members of any gangs operating in and around                          are
aware of any federal charges against John Doe. Thus, at this juncture, closing
the courtroom in this case is probably unnecessary. The only concern is if
members of local gangs are able to search and find the public docket for John
Doe.




                                        3
    Case 3:23-cr-00598-RK Document 18 Filed 06/12/23 Page 4 of 8 PageID: 49



                          FEDERAL RULES OF PROCEDURE

      Local Civil Rule 5.2(10)(b) provides this Court with the authority and
procedure to partially seal the corresponding docket. 1 Local Civil Rule
5.2(10)(b) provides:

              Sealing of Criminal Documents. A document subject to
              a sealing order or order of confidentiality must be
              submitted as a Paper Filing, in an envelope clearly
              marked “sealed,” and shall be accompanied by a disk or
              CD-ROM containing the document in PDF for filing by
              the Clerk=s Office. A motion to file a document under
              seal may be filed electronically, unless prohibited by
              law. The order of the Court authorizing the filing of
              documents under seal may be filed electronically,
              unless prohibited by law. A paper copy of the sealing
              order must be attached to the documents under seal
              and be delivered to the Clerk.

       Local Civil Rule 5.3 controls protective orders and public access under
ECF. Specifically, Local Civil Rule 5.3 governs “any request by a party to seal,
or otherwise restrict public access to, any materials filed with the Court or
utilized in connection with judicial decision-making.” The rule also governs
any request “by a party or parties to seal, or otherwise restrict public access to,
any judicial proceedings.”

      Local Civil Rule 5.3(c) provides the procedure to be followed concerning a
motion to seal or otherwise restrict public access. The rule states in pertinent
part that:

              (1) Any request by a party or parties to seal, or
              otherwise restrict public access to, any materials or
              judicial proceedings shall be made by formal motion
              pursuant to L. Civ. R. 7.1. Any such motion shall be
              filed electronically under the designation “motion to
              seal materials” or “motion to seal judicial proceedings,”
              and shall be returnable on the next available return
              date.


        1 Under Local Civil Rule 1.1(a), the local civil rules supplement the Federal Rules of

Criminal Procedure as well as the Federal Rules of Civil Procedure, and apply in all proceedings
to the extent the local rules are not inconsistent with the federal rules.



                                               4
Case 3:23-cr-00598-RK Document 18 Filed 06/12/23 Page 5 of 8 PageID: 50



        (2) Any motion to seal or otherwise restrict public
        access shall be available for review by the public. The
        motion papers shall describe (a) the nature of the
        materials or proceedings at issue, (b) the legitimate
        private or public interests which warrant the relief
        sought, (c) the clearly defined and serious injury that
        would result if the relief sought is not granted, and (d)
        why a less restrictive alternative to the relief sought is
        not available. Proposed Findings of Fact and
        Conclusions of Law shall be submitted with the motion
        papers in the proposed order required by (c)(5) below.
        If the information required in this section is not within
        the knowledge of the movant, supplemental motion
        papers in support of the motion may be filed by a
        party, individual or entity having such knowledge not
        later than fourteen (14) days after the filing of the
        motion.

        (3) Any materials deemed confidential by a party or
        parties and submitted with regard to a motion to seal
        or otherwise restrict public access shall be filed
        electronically under the designation “confidential
        materials” and shall remain sealed until such time as
        the motion is decided, subject to Local Civil Rule
        72.1(c)(1)(c). When a document filed under seal
        contains both confidential and non-confidential
        information, an unredacted version shall be filed
        under seal, and a version with only the confidential
        portions redacted shall be filed publicly.

        (4) Any interested person may move to intervene
        pursuant to Fed. R. Civ. P. 24 (b) before the return
        date of any motion to seal or otherwise restrict public
        access.

        (5) Any order or opinion on any motion to seal or
        otherwise restrict public access shall include findings
        on the factors set forth in (c)(2) above as well as other
        findings required by law and shall be filed
        electronically under the designation “order or opinion
        to seal.” Such orders and opinions may be redacted.
        Unredacted orders and opinions may be filed under
        seal, either electronically or in other medium.

                                    5
   Case 3:23-cr-00598-RK Document 18 Filed 06/12/23 Page 6 of 8 PageID: 51



        Additionally, Local Civil Rule 5.3 addresses the permissibility of sealing
the docket itself. Under Local Civil Rule 5.3, “[n]o docket shall be sealed.
However, entries on a docket may be sealed pursuant to the provisions of this
rule.” Hence, the Court can seal any and all entries but cannot seal the docket
itself.

                            THE INSTANT MOTION

      The United States through the instant motion seeks to have the Court
partially seal the docket as to the entry of the plea agreement and this motion
and/or refer to the defendant as John Doe on ECF. In support of this motion,
the United States provides the following facts:

      1.    As set forth above, the charges in this case arise from an ongoing
            investigation and current and anticipated prosecution of members
            and associates of gangs operating in and around
                    linked to firearms and/or narcotics trafficking and violence.

      2.    John Doe was cooperative following arrest and provided
            information to federal and state law enforcement officials that
            inculpated himself and other members of various gangs.

      3.    Law enforcement anticipates that a number of gang members will
            may also be charged with narcotics and/or firearms crimes in
            federal court within the District of New Jersey.

      4.    It is believed that the public disclosure of John Doe’s charge and
            cooperation with the Government would place John Doe and
            members of John Doe’s family in physical danger, as gang
            members would link John Doe’s federal case to the gang members’
            arrests, and assume that John Doe provided information to
            investigators that led to these arrests.

      5.    These facts demonstrate a substantial need to partially seal the
            docket and override the qualified First Amendment right of the
            public and press to access certain documents.

      6.    There is no alternative in this matter that will protect the interest
            at stake. If the documents are not sealed and/or partially
            redacted, John Doe’s cooperation with the Government will be
            public and John Doe and Doe’s family will face a substantial risk
            of physical harm.

    The Government is proposing restricting access in a narrowly tailored
manner. The Government is requesting that the Court seal only documents
                                        6
   Case 3:23-cr-00598-RK Document 18 Filed 06/12/23 Page 7 of 8 PageID: 52



that, if discovered, would seriously jeopardize the safety of John Doe.
Moreover, the Government seeks to seal only the documents and transcripts as
long as necessary to protect that interest.

      The Government submits that these facts demonstrate, under the legal
standards set forth above, an extraordinary situation with compelling
government and private interests that justify the sealing of the plea hearing
docket entry. The Government further submits that the transcript of the
hearing and other sealed documents should remain sealed until such time as
the identity of John Doe is publicly disclosed in connection with John Doe’s
testimony in open court or, otherwise, until the public docketing of the sealed
pleadings do not present a substantial risk of compromising John Doe’s safety.

      The Government has conferred with John Doe’s counsel regarding the
requested relief. His counsel agrees that John Doe and John Doe’s family face
a substantial risk of physical harm should John Doe’s cooperation be made
public and therefore agrees that the Court should grant the Government’s
motion to seal the documents and refer to the case as United States v. John
Doe.




                                       7
Case 3:23-cr-00598-RK Document 18 Filed 06/12/23 Page 8 of 8 PageID: 53
